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View online

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q Financial Services MY ACCOUNT

Thank You For
Your Payment
Account Ending: 3636.

Jennifer, your one-time payment of
$1421.68, on 03/15/2023, confirmation
#0DOESO, has been received.

You: can also set up recurring payments
online through your Financial account.

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